 Case 2:16-bk-13575-ER           Doc 583 Filed 01/22/18 Entered 01/22/18 15:20:34                         Desc
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                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
 6                                                                       BY gonzalez DEPUTY CLERK
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     Corporation                                                  CHANGES MADE BY COURT
 8
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14
                                  UNITED STATES BANKRUPTCY COURT
15
                                   CENTRAL DISTRICT OF CALIFORNIA
16
                                          LOS ANGELES DIVISION
17
     In re                                                 Case No. 2:15-bk-27769-ER
18                                                         Chapter 11
     CRYSTAL WATERFALLS LLC,
19                                                         OMNIBUS ORDER GRANTING
                       Debtor and Debtor-in-possession.    MOTION TO APPROVE SETTLEMENT
20                                                         WITH THE LEE GROUP PURSUANT
                                                           TO BANKRUPTCY RULE 9019
21   In re:                                                Case No. 2:16-bk-13575-ER
     LIBERTY ASSET MANAGEMENT
22   CORPORATION,                                          Chapter 11

23                     Debtor and Debtor-in-possession.    Hearing Date:
                                         Date:             January 17, 2018
24                                       Time:             10:00 a.m.
                                         Place:            Courtroom 1568, 15th Floor
25                                                         U.S. Bankruptcy Court
                                                                   Edward R. Roybal Federal
26                                                                 Building and Courthouse
                                                                   255 E. Temple Street
27                                                                 Los Angeles, CA 90012
                                                           Judge: Honorable Ernest M. Robles
28


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 1              At the above-referenced date, time, and location, a hearing was scheduled before the

 2   Honorable Ernest M. Robles on the Motion for Order Approving Settlement with the Lee Group (the

 3   “Settlement Motion”) filed in the bankruptcy cases of Liberty Asset Management Corporation

 4   (“Liberty”) [Docket Nos. 542-543] and Crystal Waterfalls, LLC (“Crystal Waterfalls”) [Docket Nos.

 5   445-446] by Liberty, Crystal Waterfalls, and the Official Committee of Unsecured Creditors of

 6   Liberty (the “Liberty Committee”). By such Settlement Motion, the moving parties seek approval of

 7   a Settlement Agreement dated November 30, 2017 between Liberty and Crystal Waterfalls, on the

 8   one hand, and the following creditors: HCL 2011 LLC, Smart Gear Development Ltd., Lee

 9   Walgreen 2013 LLC, PA One LLC, Good Special International Ltd., and Faith Hope International

10   Ltd. (collectively, the “Lee Group”) and JD Brother LLC (“JD Brothers”).

11              The Court, having read and considered the Settlement Motion, including the Settlement

12   Agreement, and all pleadings filed by the parties, for good cause appearing therefor,

13              IT IS HEREBY ORDERED:

14              1. The Settlement Motion is GRANTED in its entirety;

15              2. The Court’s tentative ruling [Docket No. 581 in the Liberty case, and Docket No. 455 in

16                   the Crystal Waterfalls case], a copy of which is attached hereto as Exhibit A and

17                   incorporated herewith, is adopted as the Court’s final ruling;

18              3. The Settlement Agreement between Liberty, Crystal Waterfalls, the Lee Group, and JD

19                   Brothers, a copy of which is attached to the Declaration of C. Alex Naegele [Docket No.

20                   542 in the Liberty case, and Docket No. 445 in the Crystal Waterfalls case], is approved;

21              4. Crystal Waterfalls is authorized to pay the Lee Group Allowed Secured Claim, as that

22                   term is defined in the Settlement Agreement;1

23              5. JD Brothers’ Claim No. 19 against Liberty shall be deemed an Allowed General

24                   Unsecured Claim, and shall not be amended;

25              6. Upon entry of this Order, Claim No. 7 against Crystal Waterfalls shall be reduced and

26                   recharacterized as the Lee Group Allowed Secured Claim in the amount of $3.5 million;

27                   and Claim No. 15 against Liberty shall be increased to a single Allowed General

28   1
         All capitalized terms not defined in this order have the meanings set forth in the Settlement Agreement.


                                                                   2
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 1            Unsecured Claim in the amount of $32.5 million, without the necessity of further Court

 2            order; and all remaining Lee Group Proofs of Claim against Liberty (Claim Nos. 13, 14,

 3            16, 17, and 18) are waived, released, and expunged from the claim registers of Liberty

 4            and Crystal Waterfalls;

 5        7. The Parties are hereby authorized to take any and all actions necessary or appropriate to

 6            consummate the Settlement Agreement and the compromise(s) embodied therein; and

 7        8. This Order shall be binding upon any successor to Crystal Waterfalls or Liberty,

 8            including any chapter 11 or chapter 7 trustee appointed in either bankruptcy case.

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24   Date: January 22, 2018

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                        EXHIBIT A
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                            United States Bankruptcy Court
                             Central District of California
                                        Los Angeles
                                Judge Ernest Robles, Presiding
                                  Courtroom 1568 Calendar

Thursday, January 18, 2018                                                  Hearing Room       1568

10:00 AM
2:16-13575    Liberty Asset Management Corporation                                       Chapter 11

    #4.10     Hearing
              RE: [542] Motion to Approve Compromise Under Rule 9019 / Memorandum of
              Points & Authorities In Support of Motion for Order Approving Settlement With
              The Lee Group (Greenwood, Gail)

              FR. 1-17-18

                                  Docket       542

  Tentative Ruling:
      1/17/2018

      For the reasons set forth below, the Motions are GRANTED.

      Pleadings Filed and Reviewed:
      1) Papers filed in Crystal Waterfalls, LLC (Case No. 2:15-bk-27769-ER):
         a) Memorandum of Points and Authorities in Support of Motion for Order
             Approving Settlement With the Lee Group (the "Motion") [Doc. No. 445]
             i) Notice of Motion and Hearing Regarding Motion for Order Approving
                Settlement With the Lee Group [Doc. No. 446]
         b) No opposition is on file
      2) Substantially identical papers filed in Liberty Asset Management Corporation
         (Case No. 2:16-bk-13575-ER):
         a) Memorandum of Points and Authorities in Support of Motion for Order
             Approving Settlement With the Lee Group (the "Motion") [Doc. No. 542]
             i) Notice of Motion and Hearing Regarding Motion for Order Approving
                Settlement With the Lee Group [Doc. No. 543]
         b) No opposition is on file


      I. Facts and Summary of Pleadings
         The Official Committee of Unsecured Creditors for Liberty Asset Management
      Corporation (the “Committee”), Liberty Asset Management Corporation (“Liberty”),
      and Crystal Waterfalls, LLC (“Crystal”) seek approval of a settlement agreement (the

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CONT...       Liberty Asset Management Corporation                                          Chapter 11
      “Settlement Agreement”) which resolves the adversary proceeding captioned Crystal
      Waterfalls LLC v. HCL 2011, LLC, Adv. No. 2:15-ap-01671 (the “HCL Adversary”).
      Substantially identical Motions seeking approval of the Settlement Agreement have
      been filed in the Liberty and Crystal cases.
          Liberty commenced a voluntary Chapter 11 petition on March 21, 2016. Crystal
      commenced a voluntary Chapter 11 petition on November 19, 2015. Crystal’s primary
      asset was a hotel property located at 1211 E. Garvey Street, Covina, CA (the "Hotel").
      On December 2, 2016, the Court approved the sale of the Hotel for $22.6 million. See
      Doc. No. 284, Case No. 2:15-bk-27769-ER. After payment of undisputed liens, taxes,
      and costs of sale, approximately $9.3 million of the sales proceeds remain (the "Hotel
      Sales Proceeds") and are being held by Crystal’s counsel in its attorney-client trust
      account. See Doc. No. 337, Case No. 2:15-bk-27769-ER. The Committee contends
      that Liberty is the beneficial owner of all of the membership interests in Crystal.

      The HCL Adversary Proceeding
          On March 24, 2017, Crystal filed a "Second Amended Complaint for (1)
      Cancellation of Written Instrument, (2) Quiet Title, (3) Avoidance of Fraudulent
      Transfer (11 U.S.C. §544), and (4) Declaratory Relief" (the "Complaint") [Adv. No.
      2:15-ap-01671-ER, Doc. No. 142] against HCL 2011 LLC ("HCL"). In the Complaint,
      Crystal alleges that HCL, acting through Benjamin Kirk ("Mr. Kirk"), recorded an
      unauthorized grant deed (the "Grant Deed") transferring the Hotel to Washe, LLC
      ("Washe"). Crystal alleges that Washe, acting through Shelby Ho ("Ms. Ho"), then
      recorded an unauthorized deed of trust (the "Deed of Trust") against the Hotel and in
      favor of HCL, which purported to secure a $28.5 million loan from HCL to Washe.
      Crystal alleges that neither it or Washe ever entered into a loan agreement with HCL,
      ever received any funds from HCL, or ever received any benefit from recordation of
      the Deed of Trust. Crystal seeks to set aside the Deed of Trust and seeks a declaration
      that HCL has no interest in the Hotel.
          On May 26, 2017, HCL filed a Second Amended Counterclaim (the
      "Counterclaim") against Crystal and other parties. HCL seeks a declaration that its
      Deed of Trust against the Hotel is valid, as well as a declaration that Crystal holds the
      Hotel Sales Proceeds in constructive trust for the benefit of HCL and a group of
      investors consisting of Sophia Huang and her family members (the "Lee Group").

      Proofs of Claim Filed by the Lee Group
         On October 12, 2016, the Lee Group filed proofs of claim in the Liberty


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                                 Judge Ernest Robles, Presiding
                                   Courtroom 1568 Calendar

Thursday, January 18, 2018                                                    Hearing Room        1568

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CONT...        Liberty Asset Management Corporation                                         Chapter 11
      bankruptcy case in the aggregate amount of $35,354,904.12. On November 4, 2016,
      HCL (on behalf of the Lee Group) filed a proof of claim in the Crystal bankruptcy
      case in the amount of $37,310,00.43. HCL asserts that $28.5 million of its claim in the
      Crystal case is secured by a deed of trust against the Hotel Sales Proceeds (the “HCL
      DOT”).
          Liberty, Crystal, and the Committee dispute the validity of the HCL DOT and the
      proofs of claim filed by the Lee Investors. Liberty, Crystal, and the Committee assert
      that the HCL DOT is void and/or may be avoided as a fraudulent transfer pledged in
      furtherance of a Ponzi scheme, and that even if the HCL DOT is valid, it should be
      reduced to the net principal amount invested with Liberty. The Lee Group asserts that
      the HCL DOT and the proofs of claim filed in the Liberty case are valid.

      Proof of Claim Filed by JD Brothers
          On October 14, 2016, JD Brothers filed a proof of claim in the Liberty bankruptcy
      case in the amount of $24,433,689. JD Brothers’ claim arises from an investment
      contract pursuant to which JD Brothers invested $13 million in exchanged for certain
      distressed assets as well as a 44.4% interest in HK Grace Building LLC, which owned
      real property located at 166 Geary Street, San Francisco, CA (the “Geary Property”).

      The Settlement Agreement
         The material terms of the Settlement Agreement are as follows:
         1) Lee Group Allowed Secured Claim. The Lee Investors shall have an allowed
            secured claim in the amount of $3.5 million against Crystal (the “Lee Group
            Allowed Secured Claim”).
         2) Lee Group Allowed Unsecured Claim. The Lee Investors shall have an
            allowed general unsecured claim against Liberty in the amount of $32.5
            million (the “Lee Group Allowed General Unsecured Claim”).
         3) JD Brothers Allowed Unsecured Claim. JD Brothers shall not amend its
            claim against Liberty, and the claim shall be deemed allowed.
         4) Payment of Lee Group Claims. The Lee Group Allowed Secured Claim shall
            be paid in full (without interest) by Crystal within five days after entry of the
            orders approving the Settlement Agreement. The Lee Group Allowed General
            Unsecured Claim will be satisfied pursuant to a plan of liquidation in the
            Liberty bankruptcy case. The Lee Group Allowed General Unsecured Claim
            will be in the same class and treated consistently with JD Brothers’ general
            unsecured claim.


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                                  Judge Ernest Robles, Presiding
                                    Courtroom 1568 Calendar

Thursday, January 18, 2018                                                        Hearing Room         1568

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CONT...       Liberty Asset Management Corporation                                         Chapter 11
           5) Payment of HCL Claim. Upon entry of orders approving the Settlement
              Agreement, HCL’s claim against Crystal shall be reduced to an allowed
              secured claim in the amount of $3.5 million, and HCL’s claim against Liberty
              shall be increased to an allowed general unsecured claim in the amount of
              $32.5 million. All remaining proofs of claim filed by the Lee Group shall be
              waived from the claims registers in the Liberty and Crystal cases.
           6) Dismissal of the HCL Adversary. Within five business days after entry of the
              orders approving the Settlement Agreement, Crystal and HCL will request
              dismissal of the HCL Adversary with prejudice.

      II. Findings and Conclusions
           Bankruptcy Rule 9019 provides that the Court may approve a compromise or
      settlement. "In determining the fairness, reasonableness and adequacy of a proposed
      settlement agreement, the court must consider: (a) The probability of success in the
      litigation; (b) the difficulties, if any, to be encountered in the matter of collection; (c)
      the complexity of the litigation involved, and the expense, inconvenience and delay
      necessarily attending it; (d) the paramount interest of the creditors and a proper
      deference to their reasonable views in the premises." Martin v. Kane (In re A&C
      Properties), 784 F.2d 1377, 1381 (9th Cir. 1986). "[C]ompromises are favored in
      bankruptcy, and the decision of the bankruptcy judge to approve or disapprove the
      compromise of the parties rests in the sound discretion of the bankruptcy judge." In re
      Sassalos, 160 B.R. 646, 653 (D. Ore. 1993). In approving a settlement agreement, the
      Court must "canvass the issues and see whether the settlement ‘falls below the lowest
      point in the range of reasonableness.’" Cosoff v. Rodman (In re W.T. Grant Co.), 699
      F.2d 599, 608 (2d Cir. 1983). Applying the A&C Properties factors, the Court finds
      that the Settlement Agreement is adequate, fair, and reasonable, and is in the best
      interests of the estate and creditors.

      Paramount Interests of Creditors
          This factor weighs strongly in favor of approving the Settlement Agreement. No
      creditors have objected to approval of the Settlement Agreement, and the Settlement
      Agreement is supported by the Committee. The Settlement Agreement is supported by
      the Lee Group and JD Brothers, which are among the largest creditors in the Crystal
      and Liberty cases. The Settlement Agreement avoids litigation which would be time
      consuming and would increase administrative costs.



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CONT...       Liberty Asset Management Corporation                                          Chapter 11
      Difficulties to Be Encountered in the Matter of Collection
          This factor does not apply since the issue is the avoidance of the HCL DOT as
      opposed to an affirmative recovery.

      Complexity of the Litigation
           This factor weighs strongly in favor of approving the Settlement Agreement. The
      litigation involves a complex and fact-intensive web of transactions among numerous
      parties. Many of the records pertaining to the transactions that would feature
      prominently in the litigation are no longer available, which only increase complexity.

      Probability of Success on the Merits
          This factor weighs in favor of approving the Settlement Agreement. While it is
      possible that litigation could result in the invalidation of the HCL DOT, such an
      outcome would be time consuming and costly. Thus, from the perspective of the
      estate and creditors, any improved recovery obtained through additional litigation
      would be pyrrhic, because the additional recovery would almost certainly be offset by
      much larger administrative costs.

      III. Conclusion
          Based upon the foregoing, the Motions are GRANTED and the Settlement
      Agreement is APPROVED. Crystal and Liberty shall submit conforming orders,
      incorporating this tentative ruling by reference, within seven days of the hearing.


          No appearance is required if submitting on the court’s tentative ruling. If you
      intend to submit on the tentative ruling, please contact Cameron Schlagel or Daniel
      Koontz at 213-894-1522. If you intend to contest the tentative ruling and appear,
      please first contact opposing counsel to inform them of your intention to do so.
      Should an opposing party file a late opposition or appear at the hearing, the court will
      determine whether further hearing is required. If you wish to make a telephonic
      appearance, contact Court Call at 888-882-6878, no later than one hour before the
      hearing.
                                      Party Information
  Debtor(s):
       Liberty Asset Management                     Represented By
                                                      David B Golubchik
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Thursday, January 18, 2018                                            Hearing Room     1568

10:00 AM
CONT...       Liberty Asset Management Corporation                             Chapter 11
                                               Jeffrey S Kwong
                                               John-Patrick M Fritz
                                               Eve H Karasik
                                               Sandford L. Frey




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                             United States Bankruptcy Court
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                                         Los Angeles
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Thursday, January 18, 2018                                              Hearing Room     1568

10:00 AM
2:15-27769     Crystal Waterfalls LLC                                              Chapter 11

    #4.20      Hearing
               RE: [445] Motion to Approve Compromise Under Rule 9019 / Memorandum of
               Points & Authorities In Support of Motion for Order Approving Settlement With
               The Lee Group (Greenwood, Gail)

               FR. 1-17-18

                                   Docket      445

  Tentative Ruling:
      1/17/2018

      See Cal. No. 4.1, above, incorporated in full by reference.
                                     Party Information
  Debtor(s):
       Crystal Waterfalls LLC                     Represented By
                                                    Ian Landsberg




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